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		OSCN Found Document:IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION

					

				
  



				
					
					
						
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				IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2021 OK 35Case Number: SCBD-7058Decided: 06/07/2021THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2021 OK 35, __ P.3d __

				

FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 




IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONCOMPLIANCE WITH MANDATORY CONTINUING LEGAL EDUCATION REQUIREMENTS FOR THE YEAR 2020
ORDER OF SUSPENSION FOR FAILURE TO COMPLY WITH THE RULES FOR MANDATORY CONTINUING LEGAL EDUCATION
On May 24, 2021, the Board of Governors of the Oklahoma Bar Association filed an Application for the suspension of members who failed to comply with mandatory legal education requirements for the year 2020 as required by Rules 3 and 5 of the Rules for Mandatory Continuing Legal Education (MCLE Rules), 5 O.S. 2011, ch. 1, ch.&nbsp;1, app. 1-B. The Board of Governors recommended the members, whose names appear on Exhibit&nbsp;A attached to the Application, be suspended from membership in the Oklahoma Bar Association and prohibited from the practice of law in the State of Oklahoma, as provided by Rule 6 of the MCLE Rules. 
This Court finds that on March 15, 2021, the Executive Director of the Oklahoma Bar Association mailed, by certified mail to all Oklahoma Bar Association members not in compliance with Rules 3 and 5 of the MCLE Rules, an Order to Show Cause within sixty days why the member= s membership in the Oklahoma Bar Association should not be suspended. The Board of Governors determined that the Oklahoma Bar Association members named on Exhibit A of its Application have not shown good cause why the member= s membership should not be suspended. 
This Court, having considered the Application of the Board of Governors of the Oklahoma Bar Association, finds that each of the Oklahoma Bar Association members named on Exhibit&nbsp;A, attached hereto, should be suspended from Oklahoma Bar Association membership and shall not practice law in this state until reinstated. 
IT IS THEREFORE ORDERED that the attorneys named on Exhibit A, attached hereto, are hereby suspended from membership in the Association and prohibited from the practice of law in the State of Oklahoma for failure to comply with the MCLE Rules for the year 2020.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 7 TH DAY OF JUNE, 2021.
/S/CHIEF JUSTICE
Darby, C.J., Kane, V.C.J., Kauger, Winchester, Edmondson, Combs, Gurich and Rowe, JJ., concur.




EXHIBIT A(MCLE - Suspension)
Arya Affeldt Adibi, OBA #308376226 E 98th STTulsa, OK 74137
Andrew David Balint, OBA #22373114 N Grand Ave Ste 408Okmulgee, OK 74447-4032
Jade Caldwell, OBA #31820617 E Tripp RdSunnyvale, TX 75182
Mitchell Kenneth Coatney, OBA #2106616328 Muirfield PlaceEdmond, OK 73013
Kathy S. Fry, OBA #17285PO Box 1886Owasso, OK 74055
James Troy Gaston, OBA #198139020 Urban ViewFt. Smith, AR 72903
Keegan Kelley Harroz, OBA #30383625 NW 13th STOklahoma City, OK 73103
Jacob Russell Lee Howell, OBA #30874200 S 7th STVan Buren, AR 72956
Joshua Ryan Kidd, OBA #316121225 Aspen PLDavis, CA 95616
Lance Timothy Lance, OBA #187571027 W Broadway AveP.O. BOX 861Sulphur, OK 73086-4411
Samuel Dean Ott, OBA #681318914 Thunder RidgeNorman, OK 73072
Christi Marie Panter, OBA #31714PO Box 231Brewster, KS 67732
Chadwick R. Richardson, OBA #155894890 E 68th ST Unit 226Tulsa, OK 74136-4955
Casey Lee Saunders, OBA #20829P.O. Box 2318Ada, OK 74821
Jay Tayar Silvernail, OBA #228072000 NW 39th StOklahoma City, OK 73118
Daniel Martin Vigilius, OBA #340421770 S Rock RD Apt 604Wichita, KS 67207
Nicholas Weeks, OBA #33786999 Jessica Leigh STElkins, AR 72727
Haskell Doak Willis, OBA #9703400 S Muskogee AveTahlequah, OK 74464
Gregory Norman Ziegler, OBA #204071201 Elm ST Ste 3800Dallas, TX 75270




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